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                                                                                                          JAN 1 2 2016
          JAN 1 2 2016
         N,~-\-~                              IN THE UNITED STATES DISTRICT COURT                     GREEi~d=L1;MD
            AT GREENBELT                          FOR THE DISTRICT OF MARYLAND
      CLERK U.S. DISTRICT COURT
        DISiRrCT    OF MARYLANO
BY                         _      OE~tJTY
                racy i\rlh-lir Alston                             )
               10012 Cedarhollow Lane                             )
               Largo, Maryland 20774                              )
                                                                  )
                          on behalf a/himseiland                  )
                          all others similarly silllated          )    Civil Action No. 8: 15-cv-3806-DKC
                                                                  )
                           Plaintiffs.                            )
                                                                  )
               Experian Information Solutions,             Inc.   )
               Scrvc: Corp Trust Inc.                             )
               35\ W. Camden Street                               )
               Baltimore, Maryland 2120 I                         )
                                                                  )
                           Defendant.                             )
                                                                  )
               Equifitx Information Scrviccs, LLC                 )
               Scrvc: CSC-Lawyers Ineorp Srve Co.                 )
               7 Saint Paul Street. Suite 820                     )
               Baltimore, Maryland 21202                           )
                                                                   )
                            Del'endant.                            )

                                                    FIRST AMENDED CLASS ACTION
                                                    COMPLAINT AND JURY DEMAND

                           COMES NOW the Plaintiff, Tracy Arthur Alston, and for his complaint              against thc

                   Del'endants Equil'ax Inl'ormation Services, LLC ("Equifax") and Experian Inlonnation      Solutions,

                   Inc. ("Experian")     alleges as follows:

                                                       PRELIMINARY     STATEMENT

                           I.       This is an action for actual, statutory and punitivc damages, costs and attorney's

                   I'ees brought pursuant to thc Fair Credit Reporting Act, 15 U.S.c. ~ 1681 el seq. ("FCRA").

                                                                  PARTIES

                           2.       The plaintiff is a natural person and resides in the state of Maryland.      He is a

                   "consumcr" as defined by the FCRA, 15 U.S.c. ~168Ia(c).
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           J.     Defendants     Equifax and Experian        (collectively   "credit   bureaus")   are foreign

corporations operating throughout the entire United States, including the State of Maryland. Each

is a "consumer reporting agency" as defined by the rCRA,                 15 U.S.c.     ~ 168Ia(f) for each is

regularly engaged in the practice of assembling and evaluating consumer credit information                 for

the purpose of preparing         consumer    reports, as the term is defined in 15 U.S.c.            1681a(d),

commonly referred to as Credit Reports, and furnishing these Credit Reports to third parties

                                                   FACTS

           4.     In April 2015 Mr. Alston requested his credit reports from Experian, Equifax and

Trans Union, LLC ("Transunion").

           5.     Each credit bureau received the same credit report request.

           6.     Mr. Alston's    requests   for credit reports included copies of two forms of his

identification.

           7.     On April 20. 2015 Transunion          issued a credit report in response to Mr. Alston's

request.

           8.     Equifax. on the other hand. issued a letter dated April 22, 2015 that requested

additional information to verify Mr. Alston's identification and current address.

           9.     Equifax's letter was not a reasonable response because Mr. Alston had already

provided sul1ieient identification      (i.e. social security card and state ID) to very his identity and

address.

           10.    Equifax knew it had sul1icient information to identify Mr. Alston and provide him

with his requested credit report. But Equifax's policy is to request additional              information even

when it has received       sufficient    information.    This policy of Equifax        to needlessly   request




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information that has already been provided is a conscious decision to deny consumers, such as

Plaintiff: Irom receiving their entitled credit reports.

         II.      Whereas Equifax and Transunion provided some form of response, the Defendant

Experian did not issue any response after receiving Mr. Alston's request for his credit report.

         12.      All three credit bureaus received the same request but only Transunion provided

Mr. Alston with his credit report. The Defendants                 Experian and Equifax response were not

reasonable because Mr. Alston provided sufficient identification               lor the Defendants to verify his

identification    and    address.   The   sutliciency       of   the   identification    was    demonstrated   by

Transunion's     response.    Even Equifax's response demonstrated            the sufficiency    of Mr. Alston's

request for Equilax requested the same identifying information that he previously provided.

                                    CLASS ACTION        ALLEGATIONS

         13.      Plaintilf   seeks to maintain    this action as a class action representing             a class

consisting of the following:

        All individuals        who, within two years of the filing of this complaint, have
        requested their       credit reports Irom the Defendants but did not receive a credit
        report from the       Defendants despite providing sufficient identification information
        in their requests     to the Defendants.

         14.      Ascerwinabilily/NlIlllerosily:   The class is ascertainable           in that it is comprised of

individuals who can be identified by reference to purely objective criteria. There arc hundreds of

thousands of members of the class and, therefore, it would be impracticable to bring all, or even

a substantial percentage at: such persons belore the Court as individual plaintiffs.

         15.      7)7Jicalily: The claims of the named plaintiff arc typical of the claims of each

member of the class he seeks to represent because they have all been injured in the same manner

as a result of Defendants' uniform and woefully inadequate procedure to furnish credit reports to

requesting consumers.


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          16.       Adequacy     Of Represenlalion:      PlaintifT is an adequate representative        of the class

he seeks to represent because: (a) hc is willing and able to represent thc proposed class and has

cvcry incentive to pursue this action to a successful conclusion; (b) his interest is not in any way

antagonistic to those of the other class members; and (c) he will be represented by experienced

and competent counsel.

          17.       CO/1//1/onalily: There are questions of law and lact common to all members of the

Class. The overarching questions of law and fact that arc common to all members of the class are

whether the consumer requested his or her credit report, whether the Defendants                         received the

consumers' request, whether the consumers' request contained sufficient information to identify

the consumer and whether the Defendants furnished the credit report to the consumers.

          18.       Predo/1/inance.    The common        questions    of law and fact relating to plaintill's

willful     violation   claims    prcdominate     over    questions    affecting   only    individual     members.

Moreover, the class action vehicle is superior to othcr available methods for the fair and cfficient

adjudication of these claims. For the vast majority of members of the class, the amount of any

potential recovery is too small to justify the cost of prosecuting their claims individually, despite

thc availability of costs and attorney fees in the evcnt they were to prevail on the merits. Further,

requiring       each class member to pursue his or hcr claim individually                 would entail needless

duplication of effort. would waste the resources of both the parties and the Court, and would risk

inconsistent adjudications.

                                 COUNT ONE: VIOLATIONS                  OF FCRA

          19.       Plaintiff rea lieges and incorporates paragraphs        1 through 18 above as if fully set

out herein.




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        20.      The   Defendants     violated   15 U.S.c.      ~ I68 Ig(a)   by   failing   to disclose   all

information in the Namcd Plaintiffs        and the Class' consumer files after receiving their requests

for their credit reports.

        21.      Defendants'    failure to comply with the requirements         of 15 U.S.c.    ~ 1681g(a) is

willful within the meaning of 15 U.S.C. ~ I68 In(a).

        22.      As a result of Defendants'      willful noncompliance        with the requirements    of 15

USC.    ~ I68 Ig(a), plaintiff and class members are entitled to statutory and punitive damages

under 15 U.S.c. ~168In(a)(I)       and (a)(2).

        23.      As a further result of Defendants' willful noncompliance          with the requirements of

15 U.S.c. ~168Ig(a),        Named PlaintifT and the Class have sufTered damage including anxiety,

frustration and other actual damages.

                 WHEREFORE, PlaintifTrespectflilly           prays:

        A.      That the Court enter an Order certifying the Class claim;

        B.      That the practices and procedures of Defendants complained of herein be

                determined and adjudged to be in violation of the rights of Named Plaintiff

                and Class members under the FCRA;

        C.      That in accordance with 15 U.S.c. 1681n(a) and 16810(a),judgment               be

                entered in favor of Named Plaintiff and the Class, either individually or c1ass-

                wide, and against Defendants lor statutory and/or punitive damages in

                amounts to be determined at trial;

        D.      That in accordance with 15 U.S.c. 168In(a)(3) and 168 I0(a)(2), Named

                Plainti fTand the Class be awarded the costs of this action together with

                reasonable attorney's tees as the Court may determine;



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 E.    That Named Pia inti ff and Class members be awarded such other and further

       legal and equitable relief as may be found appropriate and as the Court may

       deem equitable and just.

                       DEMAND FOR TRIAL BY JURY

 24.   Plaintiff hereby demands a trial by jury on all issues so triable.

                                       Respectfully submined,
                                      TRACY ARTHUR ALSTON




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                                      Largo, Maryland 20774
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